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               U.S. COURT OF APPEALS - EIGHTH CIRCUIT
                          NOA SUPPLEMENT

Please note any additions or deletions to the style of the case from the style listed on the docket
sheet or attach an amended docket sheet with the final style of the case.

Western District of Arkansas - FAYETTEVILLE DIVISION

Criminal Case Number 5:21CR50014, USA v. JOSHUA JAMES DUGGAR

Length of Trial: 8 DAYS

Financial Status:   Fee Paid?                                  YES

               If NO, has IFP been granted?                    Choose an item.

               Is there a pending motion for IFP?              Choose an item.

Are there any other post-judgment motions?                     NO

Please identify the court reporter. Paula Barden


       If no court reporter, please check ☐

       Name and Phone Number           Paula Barden (479) 695-4460

CRIMINAL CASES ONLY:
     Is the defendant incarcerated? YES

Place of confinement, if known: Currently:
Washington County Detention Center
1155 Clydesdale Drive
Fayetteville, AR 72701

Please list all other defendants in this case, if there were multiple defendants.

SPECIAL COMMENTS:
